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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

RICHARD NELSON                                )
      PLAINTIFF,                              )       CIVIL ACTION NO.:
                                              )       4:12-cv-1306
                                              )
VS.                                           )       JURY TRIAL DEMANDED
                                              )
GC SERVICES LIMITED                           )       UNLAWFUL DEBT
PARTNERSHIP                                   )       COLLECTION PRACTICES
      DEFENDANT                               )

                               COMPLAINT FOR DAMAGES

                                      INTRODUCTION

          1.   This is an action for damages against the Defendant for violations of the

Federal Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

                             SUBJECT MATTER JURISDICTION

          2.   Subject matter jurisdiction in this Court is proper pursuant to 15 U.S.C. §

1692k(d)and 28 U.S.C. § 1337 (federal question jurisdiction).

                         PARTIES AND PERSONAL JURISDICTION

          3.   Plaintiff is a resident of this state who is authorized by law to bring this

action.

          4.   Defendant GC SERVICES LIMITED PARTNERSHIP is a limited partnership

organized pursuant to the laws of the state of Delaware doing business in the state of

Missouri (hereinafter, said Defendant is referred to as "GCS"). GCS’s registered agent in

the State of Missouri is CT Corporation System, 120 South Central, Clayton, Missouri

63105.
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        5.       GCS may be served by personal or substitute service pursuant to the

Federal Rules of Civil Procedure and, as applicable, the laws of the state of Missouri.

                              FACTS COMMON TO ALL CAUSES

        6.       GCS uses telephone communications in its business.

        7.       The principal purpose of GCS’s business is the collection of debts.

        8.       GC regularly collects or attempts to collect debts owed or due, or

asserted to be owed or due to another individual or entity.

        9.       GC is a debt collector subject to the provisions of the Fair Debt Collection

Practices Act.

        10.      In the course of attempting to collect a debt allegedly due from Plaintiff

to another business not a party to this litigation, GCS communicated with Plaintiff in a

manner which violated the Federal Fair Debt Collection Practices Act.

        11.      GCS left a series of voice messages for Plaintiff on his residential phone

voice message system in the period of time spanning from December 28, 2011 through

January 30, 2012.

        12.      In all of the voice messages, GCS failed to give meaningful disclosure of

its identity.

        13.      In each of the voice messages, GCS failed to state that the

communication was from a debt collector.

        14.      In each of the voice messages, GCS failed to state that the

communication was an attempt to collect a debt.
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       15.       Defendant's communications violate the Fair Debt Collection Practices

Act.

       16.       Plaintiff has complied with all conditions precedent to bring this action.

                                      CAUSE OF ACTION

                           FAIR DEBT COLLECTION PRACTICES ACT

       17.       The acts of Defendant constitute violations of the Fair Debt Collection

Practices Act.

       18.       Defendant's violations of the FDCPA include, but are not limited to, the

following:

       a.        The placement of telephone calls without meaningful disclosure of the

                 caller's identity, in violation of 15 U.S.C. § 1692d(6);

       b.        The use of any false, deceptive, or misleading representations or means

                 in connection with the collection of any debt, in violation of 15 U.S.C. §

                 1692e;

       c.        The use of any false representation or deceptive means to collect or

                 attempt to collect any debt, in violation of 15 U.S.C. § 1692e(10); and

       d.        The failure to make the disclosures in all communications, in violation of

                 15 U .S.C. § 1692e(11).

       19.       As a result of the Defendant's actions, the Plaintiff is entitled to an award

of statutory damages, as well as an award of costs and attorney’s fees.
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       WHEREFORE, Plaintiff respectfully prays that judgment be entered against

the Defendant for the following:

       A. Statutory damages pursuant to 15 U.S.C. § 1692k;

       B. Costs and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k;

       C. For such other and further relief as may be just and proper.

                     PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

                     /s/ Richard Nelson
                     Richard Nelson

                                    Respectfully submitted,

                                    HEALEY LAW, LLC

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